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         Exhibit G
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Re: Premarked Exhibits and Meet-and-Confer, Carroll v. Trump
Michael Madaio <mmadaio@habbalaw.com>
Thu 1/11/2024 1:17 PM
To:​Matthew Craig <mcraig@kaplanhecker.com>;​Alina Habba, Esq. <ahabba@habbalaw.com>;​Peter Swift
<pswift@habbalaw.com>;​Peter Gabra <pgabra@habbalaw.com>​
Cc:​Roberta Kaplan <rkaplan@kaplanhecker.com>;​Shawn G. Crowley <scrowley@kaplanhecker.com>;​Joshua Matz
<jmatz@kaplanhecker.com>;​Trevor Morrison <tmorrison@kaplanhecker.com>​
Counsel,

I'm writing to follow up on our conversation yesterday. With respect to the Anderson Cooper/CNN
interview, we do not intend to play any portion of the video which relates to the underlying incident. We
do, however, reserve the right to play the following portion of DX-21: 8:15-8:38. This portion of the video
is relevant to show that Ms. Carroll contributed to her own reputational and/or emotional harm (see ECF
252 at 14, n. 41) as a result of the negative public reaction to her comments.

Regards,

Michael T. Madaio, Esq.
Admitted to Practice in NJ, NY & PA




1430 US Highway 206, Suite 240
Bedminster, New Jersey 07921
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From: Michael Madaio <mmadaio@habbalaw.com>
Sent: Wednesday, January 10, 2024 3:13 PM
To: Matthew Craig <mcraig@kaplanhecker.com>; Alina Habba, Esq. <ahabba@habbalaw.com>; Peter Swift
<pswift@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Cc: Roberta Kaplan <rkaplan@kaplanhecker.com>; Shawn G. Crowley <scrowley@kaplanhecker.com>; Joshua
Matz <jmatz@kaplanhecker.com>; Trevor Morrison <tmorrison@kaplanhecker.com>
Subject: Re: Premarked Exhibits and Meet-and-Confer, Carroll v. Trump

Matt,
                Case 1:20-cv-07311-LAK Document 261-7 Filed 01/13/24 Page 3 of 5
We are available for a meet and confer at 5:30 today. That said, we disagree will nearly all of your
contentions below and do not believe that court intervention is necessary or appropriate at this time. This
is especially true with respect to Ms. Martin, as the Court expressly declined to preclude her from
testifying in yesterday's order.

Regards,

Michael T. Madaio, Esq.
Admitted to Practice in NJ, NY & PA




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From: Matthew Craig <mcraig@kaplanhecker.com>
Sent: Wednesday, January 10, 2024 2:37 PM
To: Alina Habba, Esq. <ahabba@habbalaw.com>; Michael Madaio <mmadaio@habbalaw.com>; Peter Swift
<pswift@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Cc: Roberta Kaplan <rkaplan@kaplanhecker.com>; Shawn G. Crowley <scrowley@kaplanhecker.com>; Joshua
Matz <jmatz@kaplanhecker.com>; Trevor Morrison <tmorrison@kaplanhecker.com>
Subject: RE: Premarked Exhibits and Meet-and-Confer, Carroll v. Trump

Counsel:

We have not heard from you regarding our request below to meet and confer. If we do not hear from you by COB
today, we intend to raise this issue with the Court.

Matt

 Matthew Craig | Kaplan Hecker & Fink LLP
                   ​




 Special Counsel
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 mcraig@kaplanhecker.com
              Case 1:20-cv-07311-LAK Document 261-7 Filed 01/13/24 Page 4 of 5

From: Matthew Craig
Sent: Wednesday, January 10, 2024 7:50 AM
To: Alina Habba, Esq. <ahabba@habbalaw.com>; Michael Madaio <mmadaio@habbalaw.com>; Peter Swift
<pswift@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Cc: Roberta Kaplan <rkaplan@kaplanhecker.com>; Shawn G. Crowley <scrowley@kaplanhecker.com>; Joshua
Matz <jmatz@kaplanhecker.com>; Trevor Morrison <tmorrison@kaplanhecker.com>
Subject: Premarked Exhibits and Meet-and-Confer, Carroll v. Trump

Counsel:

Plaintiff’s exhibits. You can find our final premarked exhibits in stamped, redacted form here, with the exception
of PX-122-132, final versions of which will be sent later today. A password will follow separately. As you’ll see,
redactions conform to practice at the last trial and the Court’s recent evidentiary rulings. Our current exhibit list is
attached.

Defendant’s exhibits. We also want to raise two issues with respect to the exhibits you provided. First, a number
of the exhibits you previously listed are clearly inadmissible in light of the trial court’s recent rulings. Without
waiving any arguments with respect to others, the clearly inadmissible exhibits include DX-10, DX-15, DX-18, DX-
20, and DX-21, all of which go to Ms. Carroll’s alleged motivation for publishing her book or the truth or falsity of
her allegations against Defendant. Moreover, two of the exhibits (DX-16 and DX-17) go to her termination from
Elle, and, as we noted previously, we do not intend to offer evidence that Elle fired Ms. Carroll as a result of
Defendant’s defamatory statements.

Second, as you may be aware from Carroll II, redacting sensitive or inadmissible information from exhibits in the
middle of trial was a time-consuming process that disrupted normal court procedures around exhibits. Having
reviewed the exhibits Peter sent last week, it appears that you made redactions only to the two podcast
transcripts (DX-13, DX-14), but did not do so with respect to any other exhibits that require redactions of either
inadmissible material (e.g., hearsay, 403 or 412 material) or personal information (e.g., email addresses, phone
numbers), or both.

We ask that you let us know whether you still intend to offer DX-10, DX-15, DX-16, DX-17, DX-18, DX-20, DX-21, so
that we might raise any issues with the Court. For any exhibits that you do intend to offer, we ask that you send us
properly redacted versions. If there are exhibits that you anticipate using that are not on the JPTO, we should, as
we did at the last trial, confer regarding redactions prior to any use of such exhibits so that the jury is not exposed
to any material that it should not see.

Carol Martin. We understand that Carol Martin was served with a trial subpoena yesterday. We would like to
schedule a meet-and-confer with you today so that you might explain what relevant testimony you believe she has
to offer. In light of Judge Kaplan’s ruling today, it is not clear how she could offer any relevant testimony—and
certainly not any testimony that could be offered without the jury also understanding that Ms. Martin was
someone whom Ms. Carroll told about the underlying assault and who advised Ms. Carroll not to go to the police.

We are available to meet and confer between 1-2 or 5:30-6. Please let us know what works.

Thanks,
Matt

 Matthew Craig | Kaplan Hecker & Fink LLP
                   ​




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                 Case 1:20-cv-07311-LAK Document 261-7 Filed 01/13/24 Page 5 of 5
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